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     THOMAS A. JOHNSON, #119203
 1
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3   Attorney for Defendant Steven Soria
 4
 5                                IN THE UNITED STATES DISTRICT COURT
 6                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                      )   Case No.: 2:08-cr-00169-EJG
 8   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
 9                   Plaintiff,                       )   CONTINUE STATUS CONFERENCE
                                                      )
10          v.                                        )   Date:    February 12, 2010
                                                      )   Time:    10:00 a.m.
11                                                    )   Judge:   Hon. Edward J. Garcia
     STEVEN SORIA,                                    )
12                                                    )
                     Defendant
13
14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Status
15
     Conference scheduled for February 12, 2010 at 10:00 a.m. is to be continued to March 5, 2010 at
16
     10:00 a.m.in the same courtroom. Jason Hitt, Assistant United States Attorney, Thomas A.
17
     Johnson, attorney for Steven Soria, and Hayes Gable, attorney for Michael Thompson, are
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     requesting such continuance in order to complete negotiations. A plea agreement was received
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     by Steven Soria’s defense counsel on February 10, 2010. The continuation is requested because
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     defense counsel needs additional time to review the plea agreement with the Defendant and
21
     continue settlement negotiations.
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            The parties stipulate and agree that the interests of justice served by granting this
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     continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
24
     U.S.C. § 3161(h)(7)(A). It is further stipulated that the period from the date of this stipulation
25
     through and including March 5, 2010, be excluded in computing the time within which trial must
26
     commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
27
     Code T2 and T4 for continuity and preparation of counsel.
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                                   STIPULATION AND ORDER                  -1-
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 1         IT IS SO STIPULATED.
 2   DATE: February 11, 2010                              /s/ Thomas A. Johnson_____
                                                          THOMAS A. JOHNSON
 3                                                        Attorney for Defendant
                                                          STEVEN SORIA
 4
 5
     DATE: February 11, 2010                              /s/ Hayes Gable_____
 6                                                        HAYES GABLE
                                                          Attorney for Defendant
 7                                                        MICHAEL THOMPSON
 8
     DATE: February 11, 2010                              BENJAMIN B. WAGNER
 9                                                        United States Attorney
10                                             By:         /s/ Jason Hitt___________
                                                          JASON HITT
11                                                        Assistant U.S. Attorney
12
           IT IS SO ORDERED.
13
14
15   Dated: February 11, 2010
16
17
                                        /s/Edward J. Garcia
18                                      HON. EDWARD J. GARCIA
                                        U.S. District Court Judge
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                            STIPULATION AND ORDER         -2-
